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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  NANCY GIMENA HUISHA-HUISHA, on
  behalf of herself and others similarly
  situated, et al.,

    Plaintiffs,

                                                 Civ. A. No. 21-100 (EGS)
        v.

  ALEJANDRO MAYORKAS, Secretary of
  Homeland Security, et al.,

      Defendants.


                     UNOPPOSED RENEWED MOTION FOR JOINDER
                  BY THE STATES OF UTAH, MISSOURI, AND TENNESSEE

       On November 25, 2022, the States of Utah, Missouri, and Tennessee filed a joinder (Dkt.

173) of the Motion to Intervene by the States of Arizona et al. (Dkt. 168). On November 29, 2022,

the Court denied the motion for failure to comply with the duty to confer, LCvR 7(m), and failure

to attach a proposed order, LCvR 7(c). The States of Utah, Missouri, and Tennessee respectfully

renew that motion to join.

       Plaintiffs, defendants, and proposed intervenors do not oppose this Motion.

       In support of this Motion, the States of Utah, Missouri, Tennessee submit the

accompanying Memorandum of Law and [Proposed] Order.
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                                        MEMORANDUM

       Pursuant to Federal Rule of Civil Procedure 20, the States of Utah, Missouri, and Tennessee

respectfully request that this Court join Utah, Missouri, and Tennessee to the Motion to Intervene

in this matter filed by the States of Arizona, Louisiana, Alabama, Alaska, Kansas, Kentucky,

Mississippi, Nebraska, Ohio, Oklahoma, South Carolina, Texas, Virginia, and West Virginia, and

Wyoming (hereinafter “Intervenor States”). See Dkt. 168.

       Rule 20 sets forth guidelines for permissive joinder, providing that parties may join an

action if (1) their claims “aris[e] out of the same transaction, occurrence, or series of transactions

or occurrences” and (2) “any question of law or fact common to all plaintiffs will arise in the

action.” Fed. R. Civ. P. 20. Permissive Joinder is “ordinarily allowed … so long as both prongs of

the test under Rule 20 are met.” Council on Am.-Islamic Rels. Action Network, Inc. v. Gaubatz,

793 F. Supp. 2d 311, 323 (D.D.C. 2011). “Attempts to join a party who satisfies the test for

permissive joinder should generally not be denied in the absence of undue prejudice, expense, or

delay.” Id.

       The States of Utah, Missouri, and Tennessee meet both requirements for Rule 20

permissive joinder. Their claims and interests in this matter are identical to those of the Intervenor

States. The Intervenor States seek to intervene to offer a defense of Title 42 policy so that its

validity can be resolved on the merits. Dkt. 168 at 12. As laid out in the Motion to Intervene, the

Intervenor States obtained injunctive relief against recission of and exceptions to Title 42. See Dkt.

168 at 4–6. Utah, Missouri, and Tennessee are co-plaintiffs with many of the Intervenor States in

Louisiana v. Centers for Disease Control & Prevention, 2022 WL 1604901 (W.D. La. 2022). Utah,

Missouri, and Tennessee’s interests in this litigation are thus identical to those identified in the

Intervenor States’ Motion to Intervene. See Dkt. 168 at 10–16. Their claims arise out of the exact
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same transaction, occurrence, or series of transactions or occurrences as the Motion to Intervene

filed on November 21, 2022, and involve identical questions of law and fact. Joinder will also not

cause any undue prejudice, expense, or delay because Utah, Missouri, and Tennessee will simply

join the briefing of the Intervenor States at set forth by this Court’s November 22, 2022, order.

       For these reasons, the Court should grant Utah, Missouri, and Tennessee’s motion for

joinder.

       Respectfully submitted,

       DATED: November 29, 2022                    SEAN D. REYES
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  NANCY GIMENA HUISHA-HUISHA, on
  behalf of herself and others similarly
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    Plaintiffs,

                                                  Civ. A. No. 21-100 (EGS)
        v.

  ALEJANDRO MAYORKAS, Secretary of
  Homeland Security, et al.,

      Defendants.


                                            ORDER

       The Matter came before the Court on ______________, 2022 on the unopposed renewed

motion of the States of Utah, Missouri, and Tennessee for joinder to the Motion to Intervene (Dkt.

158) under Federal Rule of Procedure 20. The Court being fully advised in the premises, IT IS

HEREBY ORDERED that the States of Utah, Missouri, and Tennessee’s Motion for Joinder is

GRANTED.

       IT IS SO ORDERED.

                                                    ENTERED:

                                                    By the Court:

Date:________________                               ___________________________________
                                                                    Hon. Emmet G. Sullivan
                                                                  United States District Judge
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of November, 2022, I caused the foregoing

document to be electronically transmitted to the Clerk’s Office using the CM/ECF System for

Filing, which will send notice of such filing to all registered CM/ECF users.

                                                   /s/ Melissa A. Holyoak
                                                   MELISSA A. HOLYOAK
